                        UNITED  STATES Document:
                        Case: 25-1555  COURT OF11APPEALS
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                                                                         04/10/2025

                                                            No. 25-1555 (See attachment A for additional cases)

                              Atlas Data Privacy Corporation, et al     vs. WE INFORM LLC, et al.

                  ENTRY OF APPEARANCE

 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:
 ATLAS DATA PRIVACY CORP, as assignee of individuals who are Covered Persons; JANE DOE 1, a law enforcement officer; JANE DOE 2, a law enforcement
 officer; EDWIN MALDONADO, SCOTT MALONEY; JUSTYNA MALONEY; PATRICK COLLIGAN; PETER ANDREYEV; and WILLIAM SULLIVAN



Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                      ____ Appellant(s)                       ____ Intervenor(s)

         ____ Respondent(s)                       ✔ Appellee(s)
                                                 ____                                    ____ Amicus Curiae

(Type or Print) CounseO’s Name Eric M. Palmer
                                ________________________________________________________________
                                     ✔ Mr.
                                   ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Eric M. Palmer

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
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                                            Attachment A
No. 25-1556
Atlas Data Privacy Corp., et al. v. Informatics LLC

No. 25-1557
Atlas Data Privacy Corp. et al. v. People Searchers LLC

No. 25-1558
Atlas Data Privacy Corp. et al. v. DM Group Inc.

No. 25-1559
Atlas Data Privacy Corp. et al. v. Deluxe Corp.

No. 25-1560
Atlas Data Privacy Corp. et al. v. Quantarium Alliance LLC, et al.

No. 25-1561
Atlas Data Privacy Corp. et al. v. Yardi Systems Inc.

No. 25-1562
Atlas Data Privacy Corp. et al. v. Digital Safety Products LLC

No. 25-1563
Atlas Data Privacy Corp. et al. v. Civil Data Research

No. 25-1564
Atlas Data Privacy Corp. et al. v. Scalable Commerce LLC, et al.

No. 25-1565
Atlas Data Privacy Corp. et al. v. Labels & Lists Inc.

No. 25-1566
Atlas Data Privacy Corp. et al. v. Innovis Data Solutions Inc.

No. 25-1567
Atlas Data Privacy Corp. et al. v. Accurate Append Inc.

No. 25-1568
Atlas Data Privacy Corp. et al. v. Zillow Inc., et al.
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No. 25-1569
Atlas Data Privacy Corp. et al. v. Equimine Inc.

No. 25-1570
Atlas Data Privacy Corp. et al. v. Thomson Reuters Corp., et al.

No. 25-1571
Atlas Data Privacy Corp. et al. v. Melissa Data Corp.

No. 25-1572
Atlas Data Privacy Corp. et al. v. Restoration of America, et al.

No. 25-1573
Atlas Data Privacy Corp. et al. v. i360 LLC

No. 25-1574
Atlas Data Privacy Corp. et al. v. GoHunt LLC, et al.

No. 25-1575
Atlas Data Privacy Corp. et al. v. AccuZip Inc.

No. 25-1576
Atlas Data Privacy Corp. et al. v. Synaptix Technology LLC, et al.

No. 25-1577
Atlas Data Privacy Corp. et al. v. Joy Rockwell Enterprises Inc.

No. 25-1578
Atlas Data Privacy Corp. et al. v. Fortnoff Financial LLC

No. 25-1579
Atlas Data Privacy Corp. et al. v. MyHeritage Ltd., et al.

No. 25-1580
Atlas Data Privacy Corp. et al. v. E-Merges.com Inc.

No. 25-1581
Atlas Data Privacy Corp. et al. v. Nuwber Inc.
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No. 25-1582
Atlas Data Privacy Corp. et al. v. RocketReach LLC

No. 25-1583
Atlas Data Privacy Corp. et al. v. Belles Camp Communications Inc.

No. 25-1584
Atlas Data Privacy Corp. et al. v. PropertyRadar Inc.

No. 25-1585
Atlas Data Privacy Corp. et al. v. Alesco Group LLC, et al.

No. 25-1586
Atlas Data Privacy Corp. et al. v. Searchbug Inc.

No. 25-1587
Atlas Data Privacy Corp. et al. v. Amerilist Inc.

No. 25-1588
Atlas Data Privacy Corp. et al. v. US Data Corp.

No. 25-1589
Atlas Data Privacy Corp. et al. v. Smarty LLC, et al.

No. 25-1590
Atlas Data Privacy Corp. et al. v. Compact Information Systems LLC, et al.

No. 25-1591
Atlas Data Privacy Corp. et al. v. DarkOwl LLC

No. 25-1592
Atlas Data Privacy Corp. et al. v. Spy Dialer Inc.

No. 25-1593
Atlas Data Privacy Corp. et al. v. Lighthouse List Co. LLC

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Atlas Data Privacy Corp, et al v. First Direct Inc.
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Atlas Data Privacy Corp, et al v. Greenflight Venture Corp.
